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                                   13                           UNITED STATES DISTRICT COURT
                                   14                         CENTRAL DISTRICT OF CALIFORNIA
                                   15
                                   16    WAMAR INTERNATIONAL, LLC, a                      Case No. 8:18-CV-2217
                                         California limited liability company,
                                   17                                                     RULE 7.1 NOTICE OF
                                                       Plaintiff,                         INTERESTED PARTIES
                                   18
                                                vs.                                       [Notice of Removal, Civil Case Cover
                                   19                                                     Sheet and Notice of Interested Parties
                                         THALES AVIONICS, INC., a Delaware                filed concurrently]
                                   20    corporation; THALES, S.A., a public
                                         joint stock company organized under the          Complaint Filed: Nov. 8, 2018
                                   21    laws of France; JEAN-MARC BUDIN,                 Trial Date:      None Set
                                         an individual; and DOES 1 through 20,
                                   22    inclusive
                                   23                  Defendants.
                                   24
                                   25          The undersigned, counsel of record for Defendant Thales Avionics, Inc.,
                                   26    certifies that the following listed party (or parties) may have a pecuniary interest in
                                   27    the outcome of this case. These representations are made to enable the Court to
                                   28    evaluate possible disqualification or recusal.
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                                    1              1. Defendant Thales Avionics, Inc. Thales Avionics, Inc. is a direct,
                                    2                 wholly-owned subsidiary of Thales USA, Inc.
                                    3              2. Thales USA, Inc. Thales USA, Inc.is a direct, wholly-owned
                                    4                 subsidiary of Thales S.A.
                                    5              3. Defendant Thales S.A. Thales S.A. is a publicly owned corporation.
                                    6              4. Defendant Jean-Marc Budin
                                    7              5. Plaintiff Wamar International, LLC
                                    8              6. Wamar Group LLC (parent company of Wamar International, LLC)
                                    9              7. Oriole Inc. (parent company of Wamar Group LLC)
                                   10              8. Nabil Barakat (owner of Oriole Inc.)
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NEWPORT BEACH, CALIFORNIA 92660




                                   11
       DENTONS US LLP




                                   12     Dated:       December 13, 2018            Respectfully submitted,
         (949) 732-3700




                                   13                                               DENTONS US LLP
                                   14
                                   15                                               By: /s/ Ronald D. Kent
                                                                                       Ronald D. Kent
                                   16
                                                                                    Attorneys for Defendant
                                   17                                               Thales Avionics, Inc.
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